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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 TIARE TECHNOLOGY, INC.                           §
                                                  §
                                                             Case No. 2:22-CV-0182-JRG-RSP
 v.                                               §
                                                                     LEAD CASE
                                                  §
 WHATABURGER RESTAURANTS, LLC                     §

                                              ORDER

        This case is set for a scheduling conference in Marshall, Texas on September 22, 2022 at

 10:00 a.m. before the Honorable Rodney Gilstrap. The purpose of the scheduling conference will

 be to assign a claim construction hearing date and a trial setting. The parties shall be prepared to

 inform the Court whether they will consent to trial before the Magistrate Judge.

        The parties shall prepare and submit a proposed docket control order, a proposed discovery

 order and a proposed protective order, within the time periods contained in the schedule set forth

 hereinafter.1 These orders shall be guided by the sample docket control, discovery, and protective

 orders for patent cases, which can be found on the Court’s website. The sample orders include

 provisions that require input from the parties. If the parties are unable to reach agreement on these

 provisions, then the parties shall submit to the Court their competing proposals along with a

 summary of their disagreements in a single joint submission.

        The sample orders include provisions that are mandatory and are not subject to change

 without showing good cause. Good cause shall not be considered to be met simply by an indication

 of the parties’ agreement. Should either party believe good cause can be shown to alter an

 otherwise mandatory provision, then such party shall file a separate motion to alter the provision


        1
          Timely submission of the parties’ proposed docket control order, proposed discovery
 order and proposed protective order will be viewed by the Court as complying with the conference
 requirement of Rule 26(f).
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    after the parties have filed the proposed docket control and discovery orders with the mandatory

    provisions intact as previously required above.

             Furthermore, it is hereby ORDERED that the following schedule of deadlines is in effect

    until further order of this Court:

        6 Weeks After            Comply with Standing Order Regarding Subject-Matter Eligibility
        Scheduling Conference    Contentions2

        6 Weeks After            Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)
        Scheduling Conference

        3 Weeks After            *File Proposed Protective Order and Comply with Paragraphs 1 & 3
        Scheduling Conference    of the Discovery Order (Initial and Additional Disclosures)
.
                                 The Proposed Protective Order shall be filed as a separate motion
                                 with the caption indicating whether or not the proposed order is
                                 opposed in any part.

        2 Weeks After            *File Proposed Docket Control Order and Proposed Discovery Order
        Scheduling Conference
                                 The Proposed Docket Control Order and Proposed Discovery Order
                                 shall be filed as separate motions with the caption indicating whether
                                 or not the proposed order is opposed in any part.

        1 Week After             Join Additional Parties
        Scheduling Conference

        2 Weeks Before        Comply with P.R. 3-1 & 3-2 (Infringement Contentions)
        Scheduling Conference
             SIGNED this 3rd day of January, 2012.
            SIGNED this 15th day of August, 2022.




                                                            ____________________________________
                                                            ROY S. PAYNE
                                                            UNITED STATES MAGISTRATE JUDGE



    2
     _http://www.txed.uscourts.gov/sites/default/files/judgeFiles/EDTX%20Standing%20Order%20
    Re%20Subject%20Matter%20Eligibility%20Contentions%20.pdf



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